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AO 2458 (Mod D/NJ 12/06) Sheet 2 - Imprisonment


                                                                                                    Judgment - Page 1 of 5
Defendant: TOYE TUTIS
Case Number: 1:14-CR-00699-JBS-1



                                                    UNITED STATES DISTRICT COURT
                                                          District of New Jersey


  UNITED STATES OF AMERICA

             V.
                                                                           CASE NUMBER           1 :14-CR-00699-JBS-1

 TOYE TUTIS

            Defendant.


                                                         JUDGMENT IN A CRIMINAL CASE
                                              (For Offenses Committed On or After November 1, 1987)


            The defendant, TOYE TUTIS, was represented by STANLEY 0. KING.

            On motion of the United States, the court has dismissed count(s) 7-9, 21-27.

The defendant pleaded guilty to count(s) 1 & 13 of the SECOND SUPERSEDING INDICTMENT on 11/1/2016.
Accordingly, the court has adjudicated that the defendant is guilty of the following offense(s):

                                                                                                                             Count
 Title & Section                Nature of Offense                                                Date of Offense             Number(s)

  21 USC 846 [21                Conspiracy to Distribute and Possess with Intent to Distribute   2/10 through 12/14          1ss
  USC 841(A)(1)                 More than Five Kilograms of Cocaine, more than 280 grams
  AND (b)(1)(A)]                of Cocaine Base, and more than One Kilogram of Heroin

  18 USC                        Conspiracy to Commit Money Laundering                            2/10 through 12/14          13ss
  1956(h)[18 USC
  1956(a)(1 )(A)(i),
  (a)(1 )(B)(i)

       As pronounced on May 01, 2019, the defendant is sentenced as provided in pages 2 through 5 of this judgment.
The sentence is imposed pursuant to the Sentencing Reform Act of 1984.

        It is ordered that the defendant must pay to the United States a special assessment of $200.00 for count(s) 1 & 13,
which shall be due immediately. Said special assessment shall be made payable to the Clerk, U.S. District Court.

        It is further ordered that the defendant must notify the United States Attorney for this district within 30 days of any
change of name, residence, or mailing address until all fines, restitution, costs and special assessments imposed by this
judgment are fully paid. If ordered to pay restitution, the defendant must notify the court and United States attorney of any
material change in economic circumstances.

            Signed this          b ~day of May, 2019.                                                       <




                                                                          ~:!.~
                                                                            Senior U.S. District Judge
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                                                           IMPRISONMENT

        The defendant is hereby committed to the custody of the United States Bureau of Prisons to be imprisoned for a
term of 264 months on Count One, and a term of 100 months on Count 13, both counts to be served concurrently.

          The Court makes the following recommendations to the Bureau of Prisons: That the defendant be designated to a
facility for service of this sentence as near as possible to his home address.

            The defendant will remain in custody pending service of sentence.




                                                              RETURN

            I have executed this Judgment as follows:




      Defendant delivered on _ _ _ _ _ _ _ _ _ _ _ _ T o - - - - - - - - - - - - - - - - - -
At _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ , with a certified copy of this Judgment.



                                                                                   United States Marshal


                                                                                   Deputy Marshal



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AO 245B (Mod D/NJ 12/06) Sheet 3a - Supervised Release


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                                                             SUPERVISED RELEASE

        Upon release from imprisonment, you will be on supervised release for a term of 5 years. This term consists of
terms of 5 years on Count One and 3 years on Count 13, all such terms to run concurrently.

         Within 72 hours of release from custody of the Bureau of Prisons, you must report in person to the Probation Office
in the district to which you are released.

         While on supervised release, you must not commit another federal, state, or local crime, must refrain from any
unlawful use of a controlled substance and must comply with the mandatory and standard conditions that have been adopted
by this court as set forth below.

        You must submit to one drug test within 15 days of commencement of supervised release and at least two tests
thereafter as determined by the probation officer.

            You must cooperate in the collection of DNA as directed by the probation officer

        If this judgment imposes a fine, special assessment, costs, or restitution obligation, it is a condition of supervised
release that you pay any such fine, assessments, costs, and restitution that remains unpaid at the commencement of the
term of supervised release.

            You must comply with the following special conditions:

            ALCOHOL TESTING AND TREATMENT

            You must refrain from the use of alcohol, and must submit to urinalysis or other forms of testing to ensure
            compliance. It is further ordered that you must submit to evaluation and treatment, on an outpatient or inpatient
            basis, as approved by the U.S. Probation Office. You must abide by the rules of any program and must remain in
            treatment until satisfactorily discharged by the Court. You must alert all medical professionals of any prior substance
            abuse history, including any prior history of prescription drug abuse. The U.S. Probation Office will supervise your
            compliance with this condition.

            FINANCIAL DISCLOSURE

            Upon request, you must provide the U.S. Probation Office with full disclosure of your financial records, including co-
            mingled income, expenses, assets and liabilities, to include yearly income tax returns. With the exception of the
            financial accounts reported and noted within the presentence report, you are prohibited from maintaining and/or
            opening any additional individual and/or joint checking, savings, or other financial accounts, for either personal or
            business purposes, without the knowledge and approval of the U.S. Probation Office. You must cooperate with the
            U.S. Probation Officer in the investigation of your financial dealings and must provide truthful monthly statements
            of your income. You must cooperate in the signing of any authorization to release information forms permitting the
            U.S. Probation Office access to your financial records.

            SELF-EMPLOYMENT/BUSINESS DISCLOSURE

           You must cooperate with the U.S. Probation Office in the investigation and approval of any position of self-
           employment, including any independent, entrepreneurial, or freelance employment or business activity. If approved
           for self-employment, you must provide the U.S. Probation Office with full disclosure of your self-employment and
           other business records, including, but not limited to, all of the records identified in the Probation Form 48F (Request
           for Self Employment Records), or as otherwise requested by the U.S. Probation Office.

            LIFE SKILLS/EDUCATION

           As directed by the U.S. Probation Office, you must participate in and complete any educational, vocational, cognitive
           or any other enrichment programs offered by the U.S. Probation Office or any outside agency or establishment
           while under supervision.
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AO 245B (Mod. 0/NJ 12106) Sheet 3a - Supervised Release


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                                                 STANDARD CONDITIONS OF SUPERVISION

As part of your supervised release, you must comply with the following standard conditions of supervision. These conditions
are imposed because they establish the basic expectations for your behavior while on supervision and identify the minimum
tools needed by probation officers to keep informed, report to the court about, and bring about improvements in your conduct
and condition.


1) You must report to the probation office in the federal judicial district where you are authorized to reside within 72 hours
   of your release from imprisonment, unless the probation officer instructs you to report to a different probation office or
   within a different time frame.

2) After initially reporting to the probation office, you will receive instructions from the court or the probation officer about
   how and when you must report to the probation officer, and you must report to the probation officer as instructed.

3)   You must not knowingly leave the federal judicial district where you are authorized to reside without first getting
     permission from the court or the probation officer.

4) You must answer truthfully the questions asked by your probation officer.

5)   You must live at a place approved by the probation officer. If you plan to change where you live or anything about your
     living arrangements (such as the people you live with), you must notify the probation officer at least 10 days before the
     change. If notifying the probation officer in advance is not possible due to unanticipated circumstances, you must notify
     the probation officer within 72 hours of becoming aware of a change or expected change.

6) You must allow the probation officer to visit you at any time at your home or elsewhere, and you must permit the
   probation officer to take any items prohibited by the conditions of your supervision that he or she observes in plain
   view.

7) You must work full time (at least 30 hours per week) at a lawful type of employment, unless the probation officer
   excuses you from doing so. If you do not have fulltime employment you must try to find full-time employment, unless
   the probation officer excuses you from doing so. If you plan to change where you work or anything about your work
   (such as your position or your job responsibilities), you must notify the probation officer at least 10 days before the
   change. If notifying the probation officer at least 10 days in advance is not possible due to unanticipated
   circumstances, you must notify the probation officer within 72 hours of becoming aware of a change or expected
   change.

8) You must not communicate or interact with someone you know is engaged in criminal activity. If you know someone
   has been convicted of a felony, you must not knowingly communicate or interact with that person without first getting
   the permission of the probation officer.

9)   If you are arrested or questioned by a law enforcement officer, you must notify the probation officer within 72 hours.

10) You must not own, possess, or have access to a firearm, ammunition, destructive device, or dangerous weapon (i.e ..
    anything that was designed, or was modified for, the specific purpose of causing bodily injury or death to another
    person such as nunchakus or tasers).

11) You must not act or make any agreement with a law enforcement agency to act as a confidential human source or
    informant without first getting the permission of the court.

12) If the probation officer determines that you pose a risk to another person (including an organization), the probation
    officer may require you to notify the person about the risk and you must comply with that instruction. The probation
    officer may contact the person and confirm that you have notified the person about the risk.
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                                                     STANDARD CONDITIONS OF SUPERVISION

    13) You must follow the instructions of the probation officer related to the conditions of supervision.




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1---------------------------------------------------------------------------------
       Upon a finding of a violation of probation or supervised release, I understand that the Court may (1) revoke supervision
    or (2) extend the term of supervision and/or modify the conditions of supervision.

        These conditions have been read to me. I fully understand the conditions, and have been provided a copy of them.

      You shall carry out all rules, in addition to the above, as prescribed by the Chief U.S. Probation Officer, or any of his
    associate Probation Officers.

                                         (Signed)_ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ __
                                                           Defendant                        Date



                                                              U.S. Probation Officer/Designated Witness                      Date
